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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK



 JORGE MARTINS,

    Plaintiff,                                    Case No.: 2:22-CV-03520-BMC

 VS.

 THE SHERWIN-WILLIAMS COMPANY,
 d/b/a KRYLON PRODUCTS GROUP, and
 ANIXTER INC.,

    Defendants.



                  NOTICE OF MOTION AND MOTION FOR WITHDRAWAL
       PLEASE TAKE NOTICE THAT, pursuant to Rule 1.4 of the Local Civil Rules of the

United States District Court for the Eastern District of New York, attorney Erin N. Baldwin moves

to withdraw as counsel of record for The Sherwin-Williams Company and Anixter, Inc.

(“Defendants”) as she is leaving the law firm of Benesch, Friedlander, Coplan & Aronoff, LLP.

The remaining undersigned counsel from the same law firm remains as counsel for Defendants in

this matter.

       WHEREFORE, Erin N. Baldwin respectfully requests that the Court enter an order

granting her withdrawal as counsel of record in this action.




       Dated: September 8, 2022

                                                     Respectfully submitted,

                                                     /s/ Erin N. Baldwin
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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK



    JORGE MARTINS,

       Plaintiff,                                         Case No.: 2:22-CV-03520-BMC

    VS.

    THE SHERWIN-WILLIAMS COMPANY,
    d/b/a KRYLON PRODUCTS GROUP, and
    ANIXTER INC.,

       Defendants.


                    DECLARATION OF ERIN N. BALDWIN IN SUPPORT OF
                         MOTION TO WITHDRAW AS COUNSEL

   I, Erin N. Baldwin, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, as follows:

1. I am an associate with the law firm of Benesch, Friedlander, Coplan & Aronoff LLP. I submit

   this declaration in support of the motion, pursuant to Rule 1.4 of the Local Civil Rules of the

   Eastern District of New York, to withdraw as counsel of record for The Sherwin-Williams

   Company and Anixter, Inc (“Defendants”).

2. The reason for my withdrawal is that I am leaving Benesch, Friedlander, Coplan & Aronoff LLP.

   Benesch, Freidlander, Coplan & Aronoff LLP will continue to represent Defendants.

3. My withdrawal will not cause undue delay or result in any prejudice.

4. I am not asserting a retaining or charging lien.

5. I declare under penalty or perjury that the foregoing is true and correct.



                                                            Respectfully submitted,

                                                            /s/ Erin N. Baldwin


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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 8, 2022, the foregoing document was filed with the Clerk
of the Court and served in accordance with the Federal Rules of Civil Procedure, and/or the Eastern
District’s Local Rules, and/or the Eastern District’s Rules on Electronic Service upon the following
parties and participants:


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                                                     /s/ Erin N. Baldwin

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